       Case 1:15-cr-10271-WGY Document 28 Filed 11/24/15 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



                                                                      Criminal Action
                                                                      No: 15-cr-10271-WGY

                                     UNITED STATES
                                         Plaintiff

                                             v.

                                       ALEX LEVIN
                                        Defendant


                                 SCHEDULING ORDER

YOUNG, D.J.

      An initial status conference in accordance with LR 116.5 was held on 11/20/2015.

      Any substantive motions are to be filed by 2/16/2016. See LR 116.3(E) and (H).

      Response to any motion is to be filed on or before 3/1/2016. See LR 116.3(l).

      A Final Pretrial Conference will be held on 3/7/2016 at 2:00 PM.

      A joint memorandum in accordance with LR 116.5(C) is to be filed by 3/7/2016.

      A tentative trial date has been set for April 4, 2016.

      The time between 9/17/2015 and 4/4/2016 is excluded with the agreement of the
      defendant in the interest of justice as stated on the record.

                                                               By the Court,


                                                                /s/ Jennifer Gaudet
                                                               Deputy Clerk



November 24, 2015
